                                       
                                       
                               COURT OF APPEALS
                            TENTH DISTRICT OF TEXAS
                                center10985500
                               December 7, 2016
                              No. 10-16-00407-CR
                                FREDDIE WALLACE
                                      v.
                              THE STATE OF TEXAS
                                       
                                center-4254500
                        From the 272[nd] District Court
                             Brazos County, Texas
                       Trial Court No. 05-03424-CRF-272
                                       
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JUDGMENT

	This proceeding has been considered by the Court.  Because the Court finds that it does not have jurisdiction of the proceeding, it is the judgment of this Court that the proceeding is dismissed.  
	A copy of this judgment will be certified by the Clerk of this Court.
						PER CURIAM
						SHARRI ROESSLER, CLERK294576517462500
				
By: ___________________________
							Nita Whitener, Deputy Clerk
429846711703100
